      Case 3:22-cv-03580-WHO Document 169 Filed 01/13/23 Page 1 of 6




 1 Jason ‘Jay’ Barnes (admitted pro hac vice)        Geoffrey Graber, State Bar No. 211547
     jaybarnes@simmonsfirm.com                         ggraber@cohenmilstein.com
 2 SIMMONS HANLY CONROY LLC                          COHEN MILSTEIN SELLERS & TOLL
   112 Madison Avenue, 7th Floor                     PLLC
 3 New York, NY 10016                                1100 New York Avenue NW, Fifth Floor
   Tel:     212-784-6400                             Washington, DC 20005
 4 Fax:     212-213-5949                             Tel: 202-408-4600
                                                     Fax: 202-408-4699
 5
     Jeffrey A. Koncius, State Bar No. 189803        Beth E. Terrell, State Bar No. 178181
 6     koncius@kiesel.law                              bterrell@terrellmarshall.com
     KIESEL LAW LLP                                  TERRELL MARSHALL LAW GROUP
 7   8648 Wilshire Boulevard                         PLLC
     Beverly Hills, CA 90211                         936 North 34th Street, Suite 300
 8   Tel: 310-854-4444                               Seattle, WA 98103
     Fax: 310-854-0812                               Tel.: 206-816-6603
 9                                                   Fax: 206-319-5450

10                                                    Andre M. Mura, State Bar No. 298541
   Attorneys for Plaintiffs                             amm@classlawgroup.com
11 JOHN DOE, JANE DOE I, JANE DOE II, and             GIBBS LAW GROUP LLP
   JOHN DOE II, and DOE, on behalf of                 1111 Broadway, Suite 2100
12 themselves and all others similarly situated       Oakland, CA 94607
                                                      Tel.: 510-350-9700
13 [Additional counsel listed on signature page]      Fax: 510-350-9701

14

15                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                              SAN FRANCISCO DIVISION

17   IN RE META PIXEL HEALTHCARE                   Case No. 3:22-cv-03580-WHO
     LITIGATION
18                                                 CLASS ACTION

19   This Document Relates To:                     STIPULATION AND [PROPOSED] ORDER
                                                   TO EXTEND TIME TO FILE THE
20   All Actions                                   CONSOLIDATED CLASS ACTION
                                                   COMPLAINT AND MOTION TO DISMISS
21

22

23

24

25

26

27

28
        STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE THE CONSOLIDATED CLASS
                            ACTION COMPLAINT AND MOTION TO DISMISS
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
       Case 3:22-cv-03580-WHO Document 169 Filed 01/13/23 Page 2 of 6




 1          WHEREAS, on October 12, 2022, the Court set the date for the filing of a Consolidated

 2 Class Action Complaint “within thirty days of the entry of an order appointing interim class

 3 counsel;” ordered that “Meta shall respond to the consolidated complaint within forty-five days of

 4 the filing thereof;” and ordered that any corresponding opposition and reply briefs would be filed

 5 within 14 days, in accordance with the Northern District’s Local Rules, “unless otherwise agreed

 6 by the parties and thereafter ordered” (ECF No. 73);

 7          WHEREAS, on December 21, 2022, the Court appointed interim class counsel (ECF No.

 8 158);

 9          WHEREAS, the Consolidated Class Action Complaint is currently due on January 20, 2023;

10          WHEREAS, interim class counsel needs additional time to draft the consolidated class

11 action complaint, in order to adequately evaluate the claims alleged, including those of all Plaintiffs

12 named in each of the cases consolidated in this action, among other things;

13          WHEREAS, due to the complexity of the issues in this matter, the Parties expect that they

14 will need additional time for briefing related to Defendant’s anticipated motion to dismiss;

15          WHEREAS, the Parties met and conferred regarding the deadlines for Plaintiffs’

16 consolidated class action complaint and briefing related to Meta’s anticipated motion to dismiss and

17 agreed to the following: a 30 day extension for the filing of the Consolidated Class Action

18 Complaint, an additional 30 day extension for Meta to file a motion to dismiss (so that Meta’s motion

19 to dismiss will be due 75 days after the consolidated amended class action complaint is filed), three
20 week extensions on the corresponding opposition and reply briefs, and that the Parties will not be

21 obligated to respond to any discovery requests (Requests for Production, Interrogatories, or

22 Requests for Admission) before Plaintiffs file their Consolidated Class Action Complaint.

23          Accordingly, IT IS HEREBY STIPULATED AND AGREED between the Parties, and

24 subject to Court approval, that:

25      1. The following deadlines apply to Plaintiffs’ Consolidated Class Action Complaint and

26          briefing related to Meta’s anticipated motion to dismiss:

27

28
                                                      1
        STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE THE CONSOLIDATED CLASS
                            ACTION COMPLAINT AND MOTION TO DISMISS
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
Case 3:22-cv-03580-WHO Document 169 Filed 01/13/23 Page 3 of 6
     Case 3:22-cv-03580-WHO Document 169 Filed 01/13/23 Page 4 of 6




 1                                      Fax:   212-213-5949

 2
                                        By: /s/ Geoffrey Graber
 3
                                        COHEN MILSTEIN SELLERS & TOLL PLLC
 4                                      Geoffrey Graber, State Bar No. 211547
                                          ggraber@cohenmilstein.com
 5                                      1100 New York Avenue NW, Fifth Floor
                                        Washington, DC 20005
 6                                      Tel: 202-408-4600
                                        Fax: 202-408-4699
 7

 8                                      KIESEL LAW LLP
                                        Jeffrey A. Koncius, State Bar No. 189803
 9                                        koncius@kiesel.law
                                        8648 Wilshire Boulevard
10                                      Beverly Hills, CA 90211
                                        Tel: 310-854-4444
11                                      Fax: 310-854-0812

12                                      TERRELL MARSHALL LAW GROUP PLLC
                                        Beth E. Terrell, State Bar No. 178181
13                                        bterrell@terrellmarshall.com
                                        936 North 34th Street, Suite 300
14                                      Seattle, WA 98103
                                        Tel.: 206-816-6603
15                                      Fax: 206-319-5450
16                                      GIBBS LAW GROUP LLP
                                        Andre M. Mura, State Bar No. 298541
17                                        amm@classlawgroup.com
                                        1111 Broadway, Suite 2100
18                                      Oakland, CA 94607
                                        Tel.: 510-350-9700
19                                      Fax: 510-350-9701
20

21

22

23

24

25

26

27

28
                                           3
     STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE THE CONSOLIDATED CLASS
                         ACTION COMPLAINT AND MOTION TO DISMISS
                           CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
     Case 3:22-cv-03580-WHO Document 169 Filed 01/13/23 Page 5 of 6




 1 PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2 DATED:__________________________             ____________________________________
                                                Hon. Judge William H. Orrick
 3
                                                United States District Court Judge
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                            4
      STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE THE CONSOLIDATED CLASS
                          ACTION COMPLAINT AND MOTION TO DISMISS
                            CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
       Case 3:22-cv-03580-WHO Document 169 Filed 01/13/23 Page 6 of 6




 1                               CIVIL L.R. 5-1(h)(3) ATTESTATION

 2           Pursuant to Civil Local Rule 5-1(h)(3), the CM/ECF user filing this document attests that

 3 concurrence in its filing has been obtained from its other signatories.

 4

 5   Dated: January 13, 2023                                   /s/ Geoffrey Graber
                                                               Geoffrey Graber
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                     5
        STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE THE CONSOLIDATED CLASS
                            ACTION COMPLAINT AND MOTION TO DISMISS
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
